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17                                UNITED STATES DISTRICT COURT
18                             NORTHERN DISTRICT OF CALIFORNIA
19                                        OAKLAND DIVISION
20    EPIC GAMES, INC.                            Case No. 4:20-cv-05640-YGR-TSH
21
           Plaintiff, Counter-defendant           CERTIFICATE OF SERVICE
22    v.
                                                  The Honorable Thomas S. Hixson
23    APPLE INC.,

24         Defendant, Counterclaimant
25

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     CERTIFICATE OF SERVICE                                    CASE NO. 4:20-CV-05640-YGR-TSH
      Case 4:20-cv-05640-YGR          Document 1497-4         Filed 04/28/25      Page 2 of 2




1           I declare I am an attorney licensed to practice in the State of California, and a member of the Bar

2    of this Court. I am a partner at the law firm of Weil, Gotshal & Manges LLP, counsel of record for
3
     Defendant Apple Inc. in this case.
4
            On April 28, 2025, I served via electronic transmission an un-redacted version of the Privilege
5
     Log Entries (Exhibit A) to Apple’s Objections to Special Master Rulings on Apple’s Productions of Re-
6
     Reviewed Privileged Documents on the attorneys of record in the above captioned case.
7

8           I declare under penalty of perjury under the laws of the United States that the foregoing is true

9    and correct and that this Declaration was executed on April 28, 2025 in Washington, D.C.
10

11
      Dated: April 28, 2025                            Respectfully submitted,
12
                                                       By: /s/ Mark A. Perry
13                                                        Mark A. Perry

14                                                     WEIL, GOTSHAL & MANGES LLP
15
                                                       Attorney for Apple Inc.
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     CERTIFICATE OF SERVICE                             1                CASE NO. 4:20-CV-05640-YGR-TSH
